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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA §
§
VS. § INFORMATION
§  4:22-CR-00047
PRESTON A. FREDRICH §
PLEA AGREEMENT

The United States of America, by and through the United States Attorney for the Southern
District of Texas, and Thomas Carter, III, Assistant United States Attorney, and the defendant,
PRESTON A. FREDRICH (“Defendant”), and Defendant’s counsel, pursuant to Rule 11(c)(1)(A)
and (B) of the Federal Rules of Criminal Procedure, state that they have entered into an agreement,
the terms and conditions of which are as follows:

Defendant's Agreement

1. Defendant agrees to plead guilty to Count 2 of the Information. Count 2 of the
Information charges the Defendant with Wire Fraud, in violation of Title 18, United States Code,
Section 1343. Defendant, by entering this plea, agrees that he is waiving any right to have the
facts that the law makes essential to the punishment either charged in the information, or proved
to ajury or proven beyond a reasonable doubt.

Punishment Range

2. The statutory maximum penalty for each violation of Title 18, United States Code,

Section 1343, is imprisonment of not more than 20 years and a fine of not more than $250,000.00.

Additionally, Defendant may receive a term of supervised release after imprisonment of up to 3

years. See Title 18, United States Code, sections 3559(a)(3) and 3583(b)(2). Defendant
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acknowledges and understands that if he should violate the conditions of any period of supervised
release which may be imposed as part of his sentence, then Defendant may be imprisoned for up
to 1 year, without credit for time already served on the term of supervised release prior to such
violation. See Title 18, United Stated Code, sections 3559(a)(3) and 3583(e)(3). Defendant
understands that he cannot have the imposition or execution of the sentence suspended, nor is he
eligible for parole.
Mandatory Special Assessment

3. Pursuant to Title 18, United States Code, section 3013(a)(2)(A), immediately after
sentencing, Defendant will pay to the Clerk of the United States District Court a special assessment
in the amount of one hundred dollars ($100.00) per count of conviction. The payment will be by
cashier’s check or money order, payable to the Clerk of the United States District Court, c/o District
Clerk’s Office, P.O. Box 61010, Houston, Texas 77208, Attention: Finance.

Immigration Consequences

4. Defendant recognizes that pleading guilty may have consequences with respect to his
immigration status. Defendant understands that if he is not a citizen of the United States, by
pleading guilty he may be removed from the United States, denied citizenship, and denied
admission to the United States in the future. Defendant understands that if he is a naturalized
United States citizen, pleading guilty may result in immigration consequences, such as
denaturalization and potential deportation or removal from the United States. Defendant’s
attorney has advised Defendant of the potential immigration consequences resulting from
Defendant’s plea of guilty, and Defendant affirms that he wants to plead guilty regardless of any

immigration consequences that may result from the guilty plea and conviction.

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Waiver of Appeal and Collateral Review

5. Defendant is aware that Title 28, United States Code, section 1291, and Title 18, United
States Code, section 3742, afford a defendant the right to appeal the conviction and sentence
imposed. Defendant is also aware that Title 28, United States Code, section 2255, affords the
right to contest or “collaterally attack” a conviction or sentence after the judgment of conviction
and sentence has become final. Defendant knowingly and voluntarily waives the right to appeal
or “collaterally attack” the conviction and sentence, except that Defendant does not waive the right
to raise a claim of ineffective assistance of counsel on direct appeal, if otherwise permitted, or on
collateral review in a motion under Title 28, United States Code, section 2255. Defendant’s
knowing and voluntary waiver of the right to appeal or collaterally attack the conviction and
sentence includes waiving the right to raise on appeal or on collateral review any argument that
(1) the statute(s) to which the defendant is pleading guilty is unconstitutional and (2) the admitted
conduct does not fall within the scope of the statute(s). In the event Defendant files a notice of
appeal following the imposition of the sentence or later collaterally attacks his conviction or
sentence, the United States will assert its rights under this agreement and seek specific performance
of these waivers.

6. In agreeing to these waivers, Defendant is aware that a sentence has not yet been
determined by the Court. Defendant is also aware that any estimate of the possible sentencing
range under the sentencing guidelines that he may have received from his counsel, the United
States or the Probation Office, is a prediction and not a promise, did not induce his guilty plea, and

is not binding on the United States, the Probation Office, or the Court. The United States does
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not make any promise or representation concerning what sentence the Defendant will receive.
Defendant further understands and agrees that the United States Sentencing Guidelines are
“effectively advisory” to the Court. See United States v. Booker, 543 U.S. 220 (2005).
Accordingly, Defendant understands that, although the Court must consult the Sentencing
Guidelines and must take them into account when sentencing Defendant, the Court is not bound
to follow the Sentencing Guidelines nor sentence Defendant within the calculated guideline range.

7. Defendant understands and agrees that each and all waivers contained in the Agreement
are made in exchange for the concessions made by the United States in this plea agreement,

The United States’ Agreements

8. The United States agrees to each of the following:

(a) If Defendant pleads guilty to Count 2 of the Information and persists in that

plea through sentencing, and if the Court accepts this plea agreement, the United

States will not present for indictment any potential remaining counts arising from

this factual basis;

(b) The government agrees that the readily ascertainable loss to the victim at
the time of this plea does not exceed $1,500,000.00;

(c) If the Court determines that Defendant qualifies for an adjustment under
section 3E1.1(a) of the United States Sentencing Guidelines, and the offense level
prior to operation of section 3E1.1(a) is 16 or greater, the United States will move
under section 3E1.1(b) for an additional one-level reduction because Defendant
timely notified authorities of his intent to plead guilty, thereby permitting the
United States to avoid preparing for trial and permitting the United States and the
Court to allocate their resources more efficiently;

(d) The United States will agree not to seek an upward departure or variance;
(e) The United States will agree not to seek an additional two (2) point

enhancement for employing “sophisticated means” in the execution of his scheme
as provided by Guidelines §2B1.1(b)(10)(C);
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(f) The United States will agree not to seek any type of enhancement for
obstruction of justice as provided for under Guidelines §3C1.1.

Agreement Binding - Southern District of Texas Only

9. The United States Attorney’s Office for the Southern District of Texas agrees that it
will not further criminally prosecute Defendant in the Southern District of Texas for offenses
arising from conduct charged in the information. This plea agreement binds only the United
States Attorney’s Office for the Southern District of Texas and Defendant. It does not bind any
other United States Attorney’s Office. The United States Attorney’s Office for the Southern
District of Texas will bring this plea agreement and the full extent of Defendant’s cooperation to
the attention of other prosecuting offices, if requested.

United States’ Non-Waiver of Appeal

10. The United States reserves the right to carry out its responsibilities under guidelines
sentencing. Specifically, the United States reserves the right:

(a) to bring its version of the facts of this case, including its evidence file and

any investigative files, to the attention of the Probation Office in connection with

that office’s preparation of a presentence report;

(b) to set forth or dispute sentencing factors or facts material to sentencing;

(c) to seek resolution of such factors or facts in conference with Defendant’s
counsel and the Probation Office;

(d) to file a pleading relating to these issues, in accordance with section 6A1.2
of the United States Sentencing Guidelines and Title 18, United States Code,
section 3553(a); and

(e) to appeal the sentence imposed or the manner in which it was determined.
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Sentence Determination

11. Defendant is aware that the sentence will be imposed after consideration of the United
States Sentencing Guidelines and Policy Statements, which are only advisory, as well as the
provisions of Title 18, United States Code, Section 3553(a). Defendant nonetheless
acknowledges and agrees that the Court has authority to impose any sentence up to and including
the statutory maximum set for the offense(s) to which Defendant pleads guilty, and that the
sentence to be imposed is within the sole discretion of the sentencing judge after the Court has
consulted the applicable Sentencing Guidelines. Defendant understands and agrees that the
parties’ positions regarding the application of the Sentencing Guidelines do not bind the Court and
that the sentence imposed is within the discretion of the sentencing judge. If the Court should
impose any sentence up to the maximum established by statute, or should the Court order any or
all of the sentences imposed to run consecutively, Defendant cannot, for that reason alone,
withdraw a guilty plea, and will remain bound to fulfill all of the obligations under this plea
agreement.

Rights at Trial

12. Defendant understands that by entering into this agreement, he surrenders certain
rights as provided in this plea agreement. Defendant understands that the rights of a defendant
include the following:

(a) If Defendant persisted in a plea of not guilty to the charges, defendant would

have the right to a speedy jury trial with the assistance of counsel. The trial may

be conducted by a judge sitting without a jury if Defendant, the United States, and

the court all agree;

(b) At atrial, the United States would be required to present witnesses and other

evidence against Defendant. Defendant would have the opportunity to confront

those witnesses and his attorney would be allowed to cross-examine them. In turn,
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Defendant could, but would not be required to, present witnesses and other

evidence on his own behalf. If the witnesses for Defendant would not appear

voluntarily, he could require their attendance through the subpoena power of the

court; and

(c) At atrial, Defendant could rely on a privilege against self-incrimination and

decline to testify, and no inference of guilt could be drawn from such refusal to

testify. However, if Defendant desired to do so, he could testify on his own behalf.
Factual Basis for Guilty Plea

13. Defendant is pleading guilty because he is in fact guilty of the charges contained in
Count 2 of the Information. If this case were to proceed to trial, the United States could prove
each element of these offenses beyond a reasonable doubt. The following facts, among others
would be offered to establish Defendant’s guilt:

From in or about early 2018 through in or about April 2021, in the Houston Division of the
Southern District of Texas and elsewhere, the Defendant knowingly devised a scheme and artifice
to defraud his employer, Cleveland Mack Sales, d.b.a. Performance Truck (Performance Truck)
located in Cleveland, Texas, by submitting a series of fraudulent invoices for payment on work
that had either not been done, had been done at a much-inflated price, or work for which the
Defendant received a substantial kick back. Defendant was in the position to submit these
invoices through his job as Performance truck’s top salesman. Key to the Defendant’s scheme
was the involvement of a co-conspirator who owned a small after-market truck services company
named “G+G Collision,” which was a “certified and approved” vendor to Performance Truck.

Initially, the Defendant asked at least one vendor of Performance Truck to send invoices

to directly to the Defendant, as opposed to the normal practice of sending them to Performance

Truck. The Defendant then submitted falsified and inflated invoices for that work to victim
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company Performance Truck. Shortly thereafter, the Defendant approached the co-conspriator
with an arrangement to use the co-conspirator’s company G+G Collision, Inc. (G+G Collision) to
bill Performance Truck for work that was either not done, or bill at inflated prices. The
Defendant used existing customer reference numbers and legitimate work orders but fabricated
invoices from G+G Collision using that company’s letterhead and approved vendor numbers.
Often, these false invoices were “batched” with other legitimate invoices and paid by Performance
Truck accordingly. During the initial phase of the Defendant’s relationship with the co-
conspirator, the falsified invoices were paid to G+G Collision and the co-conspirator, who then
forwarded the ill-gotten money to the Defendant for a small percentage of the proceeds.

Eventually, the Defendant used a J.P. Morgan Chase bank account that was accessible to
both him and a co-conspirator. The proceeds from the falsified invoices sent from Performance
Truck to G+G Collision were directed to this new account, which allowed the Defendant to transfer
the funds to his personal accounts without the co-conspirator’s involvement. In almost all
cases, the fraudulently obtained funds were transferred within hours or days to the Defendant’s
personal J.P. Morgan Chase account ending xxxx1370.

For example, on or about April 30, 2020, the Defendant caused J. P. Morgan Chase Bank
to transfer $35,400.00 from the J.P. Morgan Chase account he had created for G+G Collision to
his own personal account through an interstate wire transfer. These funds were the proceeds of a
fraudulent invoice that the Defendant had submitted on behalf of G+G Collision for work that had

actually been contracted out to a Performance Truck vendor in Olathe, Kansas.
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Breach of Plea Agreement

14. If Defendant should fail in any way to fulfill completely all of the obligations under
this plea agreement, the United States will be released from its obligations under the plea
agreement, and Defendant’s plea and sentence will stand. If at any time Defendant retains,
conceals, or disposes of assets in violation of this plea agreement, or if Defendant knowingly
withholds evidence or is otherwise not completely truthful with the United States, then the United
States may move the Court to set aside the guilty plea and reinstate prosecution. Any information
and documents that have been disclosed by Defendant, whether prior to or subsequent to this plea
agreement, and all leads derived therefrom, will be used against defendant in any prosecution.

Restitution, Forfeiture, and Fines — Generally

15. This Plea Agreement is being entered into by the United States on the basis of
Defendant’s express representation that he will make a full and complete disclosure of all assets
over which he exercises direct or indirect control, or in which he has any financial interest.
Defendant agrees not to dispose of any assets or take any action that would effect a transfer of
property in which he has an interest, unless Defendant obtains the prior written permission of the
United States.

16. Defendant agrees to make complete financial disclosure by truthfully executing a
sworn financial statement (Form OBD-500 or similar form) within 14 days of signing this plea
agreement. Defendant agrees to authorize the release of all financial information requested by
the United States, including, but not limited to, executing authorization forms permitting the

United States to obtain tax information, bank account records, credit histories, and social security
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information. Defendant agrees to discuss and answer any questions by the United States relating
to Defendant’s complete financial disclosure.

17. Defendant agrees to take all steps necessary to pass clear title to forfeitable assets to
the United States and to assist fully in the collection of restitution and fines, including, but not
limited to, surrendering title, executing a warranty deed, signing a consent decree, stipulating to
facts regarding the transfer of title and the basis for the forfeiture, and signing any other documents
necessary to effectuate such transfer. Defendant also agrees to direct any banks which have
custody of his assets to deliver all funds and records of such assets to the United States.

18. Defendant understands that forfeiture, restitution, and fines are separate components
of sentencing and are separate obligations.

Restitution

19. Defendant agrees to pay full restitution to the victim regardless of the count of
conviction. Defendant stipulates and agrees that as a result of his criminal conduct, the victim(s)
incurred a monetary loss of at least $1,500,000.00. Defendant understands and agrees that the
Court will determine the amount of restitution to fully compensate the victim(s). Defendant
agrees that restitution imposed by the Court will be due and payable immediately and that
Defendant will not attempt to avoid or delay payment. Subject to the provisions of paragraph 5
above, Defendant waives the right to challenge in any manner, including by direct appeal or in a

collateral proceeding, the restitution order imposed by the Court.

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Forfeiture

20. Defendant stipulates and agrees that the property listed in the information’s Notice of
Forfeiture (and in any supplemental Notices) is subject to forfeiture, and Defendant agrees to the
forfeiture of that property.

21. Defendant stipulates and agrees that Defendant obtained an amount up to
$1,500,000.00 from the criminal offenses and that the factual basis for his guilty plea supports the
forfeiture of up to $1,500,000.00. Defendant stipulates and admits that one or more of the
conditions set forth in Title 21, United States Code, section 853(p), exists. Defendant agrees to
forfeit any of Defendant’s property in substitution, up to a total forfeiture of $1,500,000.00.
Defendant agrees to the imposition of a personal money judgment in that amount.

22. Defendant agrees to waive any and all interest in any asset which is the subject of a
related administrative or judicial forfeiture proceeding, whether criminal or civil, federal or state.

23. Defendant consents to the order of forfeiture becoming final as to Defendant
immediately following this guilty plea, pursuant to Federal Rule of Criminal Procedure
32.2(b)(4)(A).

24. Subject to the provisions of paragraph 5 above, Defendant waives the right to
challenge the forfeiture of property in any manner, including by direct appeal or in a collateral
proceeding.

Fines

25. Defendant understands that under the Sentencing Guidelines the Court is permitted to

order Defendant to pay a fine that is sufficient to reimburse the government for the costs of any

imprisonment or term of supervised release, if any. Defendant agrees that any fine imposed by

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the Court will be due and payable immediately, and Defendant will not attempt to avoid or delay
payment. Subject to the provisions of paragraph 5 above, Defendant waives the right to challenge
the fine in any manner, including by direct appeal or in a collateral proceeding.
Complete Agreement

26. This written plea agreement, consisting of 14 pages, including the attached addendum
of Defendant and his attorney, constitutes the complete plea agreement between the United States,
Defendant, and Defendant’s counsel. No promises or representations have been made by the
United States except as set forth in writing in this plea agreement. Defendant acknowledges that
no threats have been made against him and that he is pleading guilty freely and voluntarily because
he is guilty.

27. Any modification of this plea agreement must be in writing and signed by all parties.

Filed at Hp uUston , Texas, on Fay vet 7) , 2022.

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Subscribed and sworn to before me on Ay 4 ust | 7 , 2022.
NATHAN OCHSNER, Clerk
UNITED TRICT CLERK.

Deputy United States District Clerk

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APPROVED:

Jennifer B. Lowery

Taomas-Carter, TT

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Southern District of Texas
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Shawn McDonald
Jatnes Alston
Attorneys for the Defendant

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FOR THE SOUTHERN DISTRICT OF TEXAS

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PLEA AGREEMENT -- ADDENDUM

I have fully explained to Defendant his rights with respect to the pending information. I
have reviewed the provisions of the United States Sentencing Commission’s Guidelines Manual
and Policy Statements and I have fully and carefully explained to Defendant the provisions of
those Guidelines which may apply in this case. I have also explained to Defendant that the
Sentencing Guidelines are only advisory and the court may sentence Defendant up to the maximum
allowed by statute per count of conviction. Further, I have carefully reviewed every part of this

plea agreement with Defendant. To my knowledge, Defendant’s decision to enter into this

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Attorhey for Defendant Date

I have consulted with my attorney and fully understand all my rights with respect to the
information pending against me. My attorney has fully explained, and I understand, all my rights
with respect to the provisions of the United States Sentencing Commission’s Guidelines Manual

which may apply inmy case. I have read and carefully reviewed every part of this plea agreement

with my en this agreement and I voluntarily agree to its terms.
/ BLT [2024

Defendant / ao Date /

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